Case 2:19-cv-12238-JMV-SCM Document 1-1 Filed 05/07/19 Page 1 of 15 PageID: 5




                            EXHIBIT A
Case 2:19-cv-12238-JMV-SCM Document 1-1 Filed 05/07/19 Page 2 of 15 PageID: 6


YACKER GIATT, LLC
 648 NEWARK A VENUE
JERSEY CITY, NJ 07306
TEL: (201)420-0001
Attorney: Jay B. Yacker, Esq.
Attorney ID: 038531989
Attorneys for Plaintiff: Shirley Taveras
  Shirley Taveras and Elianna Taveras,                   SUPERIOR COURT OF NEW JERSEY
                                                          LAW DIVISION: HUDSON COUNTY
          Plaintiffs
                                                             DOCKET NO.: HUD-L-3455-18
          v.
                                                                      CIVIL ACTION
  Aubensor Henry, General Services
  Administration, John Does 1-3 and ABC                                 SUMMONS
  Corp.1-3

        Defendants
 From The State of New Jersey To The Defendant(s) Named Above:

 The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New Jersey. The
 complaint attached to this summons states the basis for this lawsuit. If you dispute this complaint, you
 or your attorney must file a written answer or motion and proof of service with the deputy clerk of the
 Superior Court in the county listed above within 35 days from the date you received this summons, not
 counting the date you received it. (The address of each deputy clerk of the Superior Court is provided.)
 If the complaint is one in foreclosure, then you must file your written answer or motion and proof of
 service with the Clerk of the Superior Court, Hughes Justice Complex, P.O. Box 971, Trenton, NJ
 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a completed Case
 Information Statement (available from the deputy clerk of the Superior Court) must accompany your
 answer or motion when it is filed. You must also send a copy of your answer or motion to plaintiff's
 attorney whose name and address appear above, or to plaintiff, if no attorney is named above. A
 telephone call will not protect your rights; you must file and serve a written answer or motion (with fee
 of $135 and completed Case Information Statement) if you want the court to hear your defense. If you
 do not file and serve a written answer or motion within 35 days, the court may enter a judgment against
 you for the relief plaintiff demands, plus interest and costs of suit. If judgment is entered against you,
 the Sheriff may seize your money, wages or property to pay all or part of the judgment. If you cannot
 afford an attorney, you may call the Legal Services office in the county where you live. A list of these
 offices is provided. If you do not have an attorney and are not eligible for free legal assistance, you
 may obtain a referral to an attorney by calling one of the Lawyer Referral Services. A list of these
 numbers is also provided.

 Dated:    December 31, 2018
                                               Michelle M. Smith, Esq
                                               Clerk of the Superior Court

  Name of Defendant to Be Served:           Aubensor Henry
  Address of Defendant to Be Served:        19 Colonial Drive, Apt 14
                                            Bayonne, NJ 07002
Case 2:19-cv-12238-JMV-SCM Document 1-1 Filed 05/07/19 Page 3 of 15 PageID: 7


 Revised 7/1/2008, CN 10792
    . DIRECTORY OF SUPERIOR COURT                                    Local Filing Office, Courthouse 175 S. Broad Street, P.O. Box
                                                                     8068 Trenton, NJ 08650 lAWYER REFERRAL (609) 585-
    DEPUTY CLERK'S OFFICES COUNTY                                    6200 LEGAL SERVICES (609) 695-6249
      LAWYER REFERRAL AND LEGAL
                 SERVICES OFFICES                                    MIDDLESEX COUNTY: Deputy Clerk of the Superior
                                                                     Court, Middlesex Vicinage 2nd Floor - Tower 56 Paterson
                                                                     Street, P.O. Box 2633 New Brunswick, NJ 08903-2633
 ATLANTIC COUNTY: Deputy Clerk of the Superior Court
                                                                     lAWYER REFERRAL (732) 828-0053 LEGAL SERVICES
 Civil Division, Direct Filing 1201 Bacharach Blvd., First Fl.
                                                                     (732) 249-7600
 Atlantic City, NJ 08401 lAWYER REFERRAL (609) 345-
 3444 LEGAL SERVICES (609) 348-4200
                                                                     MONMOUTH COUNTY: Deputy Clerk of the Superior
                                                                     Court Court House P.O. Box 1269 Freehold, NJ 07728-1269
 BERGEN COUNTY: Deputy Clerk of the Superior Court
                                                                     lAWYER REFERRAL (732) 431-5544 LEGAL SERVICES
 Civil Division, Room 115 Justice Center, 10 Main SL
                                                                     (732) 866-0020 MORRIS COUNTY: Morris County
 Hackensack, NJ 07601 lAWYER REFERRAL (201) 488-
                                                                     Courthouse Civil Division Washington and Court Streets P.O.
 0044 LEGAL SERVICES (201) 487-2166
                                                                     Box 910 Morristown, NJ 07963-0910 lAWYER REFERRAL
                                                                     (973) 267-5882 LEGAL SERVICES (973) 285-6911
 BURLINGTON COUNTY: Deputy Clerk of the Superior
 Court Central Processing Office Attn: Judicial Intake First Fl.
                                                                     OCEAN COUNTY: Deputy Clerk of the Superior Court 118
 Courts Facility 49 Rancocas Rd. Mt. Holly, NJ 08060             '
                                                                     Washington Street, Room 121 P.O. Box 2191 Toms River, NJ
 lAWYER REFERRAL (609) 261-4862 LEGAL SERVICES
                                                                     08754-2191 lAWYER REFERRAL(732) 240-3666 LEGAL
 (800) 496-4570
                                                                     SERVICES (732) 341-2727 Revised 7/1/2008, CN 10792
                                                                     Revised 07/2009, CN 10153-English (Directory of Superior
 CAMDEN COUNTY: Deputy Clerk of the Superior Court
                                                                     Court Deputy Clerk's Offices County Lawyer Referral and
 Civil Processing Office Hall of Justice 1st Fl., Suite 150 101
                                                                     Legal Services)
 South 5th Street Camden, NJ 08103 lAWYER REFERRAL
 (856) 964-4520 LEGAL SERVICES (856) 964-2010
                                                                     PASSAIC COUNTY: Deputy Clerk of the Superior Court
                                                                     Civil Division Court House 77 Hamilton Street Paterson, NJ
 CAPE MAY COUNTY: Deputy Clerk of the Superior Court
                                                                     07505 lAWYER REFERRAL (973) 278-9223 LEGAL
 9 N. Main Street Cape May Court House, NJ 08210 1AWYER
                                                                     SERVICES (973) 523-2900
 REFERRAL (609) 463-0313 LEGAL SERVICES (609) 465-
 3001
                                                                     SALEM COUNTY: Deputy Clerk of the Superior Court Attn:
                                                                     Civil Case Management Office 92 Market Street Salem, NJ
 CUMBERLAND COUNTY: Deputy Clerk of the Superior                     08079 lAWYER REFERRAL (856) 678-8363 LEGAL
 Court Civil Case Management Office 60 West Broad Street
                                                                     SERVICES (856) 451-0003
 P.O. Box 10 Bridgeton, NJ 08302 lAWYER REFERRAL
 (856) 692-6207 LEGAL SERVICES (856) 451-0003
                                                                     SOMERSET COUNTY: Deputy Clerk of the Superior Court
 ESSEX COUNTY: Deputy aerk of the Superior Court Civil
                                                                     Civil Division P.O. Box 3000 40 North Bridge Street
 Customer Service Hall of Records, Room 201 46S Dr. Martin
                                                                     Somerville, NJ. 08876 lAWYER REFERRAL(908) 685-
 Luther King Jr. Blvd. Newark, NJ 07102 lAWYER
                                                                     2323 LEGAL SERVICES (908) 231-0840
 REFERRAL (973) 622-6204 LEGAL SERVICES (973) 624-
 4500 Revised 7/1/2008, CN 10792 Revised 07/2009, CN
                                                                     SUSSEX COUNTY: Deputy Clerk of the Superior Court
 10153-English (Directory of Superior Court Deputy Clerk's
                                                                     Sussex County Judicial Center 43-47 High Street Newton, NJ
 Offices County Lawyer Referral and Legal Services)
                                                                     07860 lAWYER REFERRAL (973) 267-5882 LEGAL
                                                                     SERVICES (973) 383-7400
 GLOUCESTER COUNTY: Deputy Clerk of the Superior
 Court Civil Case Management Office Attn: Intake First Fl.,
                                                                     UNION COUNTY: Deputy Clerk of the Superior Court 1st
 Court House 1 North Broad Street Woodbury, NJ 08096
                                                                     Fl., Court House 2 Broad Street Elizabeth, NJ 07207-6073
 lAWYER REFERRAL (856) 848-4589 LEGAL SERVICES
                                                                     lAWYER REFERRAL (908) 3S3-4715 LEGAL SERVICES
 (856) 848-5360
                                                                     (908) 354-4340
 HUDSON COUNTY: Deputy Clerk of the Superior Court                   WARREN COUNTY: Deputy Clerk of the Superior Court
 Superior Court, Civil Records Dept Brennan Court House-1st
                                                                     Civil Division Office Court House 413 Second Street
 Floor 583 Newark Ave. Jersey City, NJ 07306 lAWYER
                                                                     Belvidere, NJ 07823-1500 lAWYER REFERRAL(973) 267-
 REFERRAL (201) 798-2727 LEGAL SERVICES (201) 792-
                                                                     5882 LEGAL SERVICES (908) 475-2010 Revised 7/1/2008,
 6363                                                                CN 10792 Revised 07/2009, CN 10153-English (Directory of
                                                                     Superior Court Deputy Clerk's Offices County Lawyer
 HUNTERDON COUNTY: Deputy Clerk of the Superior
                                                                     Referral and Legal Services)
 Court Civil Division 65 Park Avenue Flemington, NJ 08822
 1AWYER REFERRAL (908) 735-2611 LEGAL SERVICES
 (908) 782-7979


 MERCER COUNTY: Deputy Clerk of the Superior Court
Case 2:19-cv-12238-JMV-SCM    Document AM
      HUD-L-003455-18 08/31/201811:13:34 1-1 PgFiled 05/07/19
                                                1 of 11 Trans ID:Page 4 of 15 PageID: 8
                                                                 LCV20181515196




     Y ACKER GIATT, LLC
     648 NEWARK AVENUE
     JERSEY CITY, NJ 07306
     TEL: (201)420-0001
     Jay B. Yacker, Esq.
     Attorney ID# 038531989
     Attorneys for Plaintiffs: Shirley Taveras and Elianna Taveras



      Shirley Taveras and Elianna Taveras,                 SUPERIOR COURT OF NEW JERSEY
                                                            I.AW DIVISION: HUDSON COUNTY
             Plaintiffs
                                                                       DOCKET NO.:
             v.
                                                                      CIVIL ACTION
      Aubensor Henry, General Services
      Administration, John Does 1-3 and ABC                             COMPLAINT
      Corp.1-3                                                       and JURY DEMAND

             Defendants


            Plaintiffs Shirley Taveras and Elianna Taveras, by and through their attorneys, Yacker

     Glatt, LLC, complain of the Defendants as follows:


                                               COUNTONE

            1.      On or about September 2, 2016, Plaintiff Shirley Taveras was driving a vehicle

     (hereinafter "Vehicle 1") in the vicinity of the intersection of John F. Kennedy Boulevard and

     Audubon Avenue, in Jersey City, New Jersey.

            2.    At the same time and place as aforesaid, Defendant Aubensor Henry was the driver and

     owner of another vehicle (hereinafter "Vehicle 2").

            3.      At the time and place aforesaid Vehicle 2 struck Vehicle 1.

            4.      Defendant Aubensor Henry controlled and/or operated Vehicle 2 in a careless,


                                                                                          Page 1 of 11
Case HUD-L-003455-18
     2:19-cv-12238-JMV-SCM    DocumentAM
                     08/31/201811:13:34 1-1Pg Filed
                                              2 of 1105/07/19   Page 5 of 15 PageID: 9
                                                      Trans ID: LCV20181515196




    negligent, and reckless manner.

           5.      As a direct and proximate result of the aforesaid negligence of Defendant Aubensor

    Henry, Plaintiff Shirley Taveras was violently cossed about, and sustained serious permanent personal

    injuries. These injuries have caused pain, diminished mobility and difficulty in ambulation.

           6.      Plaintiff Shirley Taveras has incurred and in the future will incur expenses for the

    treatment of said injuries. As a result of said injuries, Plaintiff Shirley Taveras has been disabled and

    in the f uturc will be disabled and unable to perform her usual functions, has been caused and in the

    future will be caused great pain and suffering, to her great loss and damage.



            WHEREFORE, Plaintiff Shirley Taveras demands judgment against Defendant Aubensor

    Henry for damages, interest and costs of suit.




                                                COUNTTWO

            l.      Plaintiff Elianna Taveras repeats each and every allegation of Count One of the

    complaim and incorporates same as if fully set forth at length herein.

            2.     Plaintiff Elianna Taveras was a passenger in Vehicle I.

            3.      As a direct and proximate result of the aforesaid negligence of Defendant Aubensor

    Henry, Plaintiff Elianna Taveras was violently tossed about, and sustained serious permanent personal

    injuries. These injuries have caused pain, diminished mobility and difficulty in ambulation.

            4.      Plaintiff Elianna Taveras has incurred and in the future will incur expenses for the

    treatment of said injuries. As a result of said injuries, Plaintiff Elianna Taveras has been disabled and

    in the future will be disabled and unable to perform her usual functions, has been caused and in the



                                                                                               Page 2of11
Case 2:19-cv-12238-JMV-SCM    Document AM
      HUO-L-003455-18 08/31/201811:13:34 1-1 Pg
                                              Filed
                                                3 of 05/07/19
                                                     11 Trans 10:Page 6 of 15 PageID: 10
                                                                  LCV20181515196




     future will be caused great pain and suffering, to her great loss and damage.




            WHEREFORE, Plaintiff Elianna Taveras demands judgment against Defendant Aubensor

     Henry for damages, interest and costs of suit.




                                               COUNT THREE

            1.        Plaintiffs Shirley Taveras and Elianna Taveras repeat each and every allegation of

      Counts One and Two of the complaint and incorporate the same as if fully set forth at length

      herein.

            2.       Upon information and belief, Defendant General Services Administration is the

      owner of Vehicle 2.

            3.       Defendant General Services Administration is directly negligent in permitting an

      unsafe driver to operate Vehicle 2.

            4.        As a direct and proximate result of the aforesaid negligence of Defendant General

      Services Administration, Plaintiffs Shirley Taveras and Elianna Taveras were violently tossed

      about, and sustained serious permanent personal injuries. These injuries have caused pain,

      diminished mobility and difficulty in ambulation.

            5.        Plaintiffs Shirley Taveras and Elianna Taveras have incurred and in the future will

      incur expenses for the treatment of said injuries. As a result of said injuries,Plaintiffs Shirley

      Taveras and Elianna Taveras have been disabled and in the future will be disabled and unable to

      perform their usual functions, have been caused and in the future will be caused great pain and

      suffering, to their great loss and damage.

                WHEREFORE, Plaintiffs Shirley Taveras and Elianna Taveras demand judgment against

      Defendant General Services Administration for damages, interest and costs of suit.

                                                                                               Page3of 11
Case 2:19-cv-12238-JMV-SCM    Document
     HUD-L-003455-18 08/31/2018            1-1PgFiled
                                11 :13:34 AM           05/07/19
                                                 4 of 11 Trans ID: Page 7 of 15 PageID: 11
                                                                   LCV20181515196




   11                                                 COUNT FOUR
   il

   ![             L       Upon information and bi:! icf. uml in the allcrnalive to the allegations itl Coun!s Om:.

   11      Two and Three above. the true name .1nd -::apadty whether individual. plural. corporate.
     1

   i)
           partnership. associate or otherwise of Dctcnd:mts. John Dn6 1-3 and ABC Corp. 1-3. an.:

   11,,    unknown to the Plaintiffs. \Vho. thcrcfort. bring suit against said Dcfcnd;rnts by such fictitious
   'l
           name. John Docs 1-3 and ABC Corp. 1-3 may be the true O'.Yllcrs or operators or panics

           n.:sponsibk for the negligence caused hy the Defendants. Aubcnsor Henry, John Dot.::s l-3 and

           ABC Corp. l -3 in !he vicinity of the in1crsectiun nr kihn F. Kcnrn:dy Boukvard and Auch1bon

           Avenue. in Jersey City. N.:w Jersey.

                 \\'HEREFORE .. Plaintiffs Shirley Ta\era'- :md Eli:rnna T;neras demand judgment against
   ;(
   ',1.1

   ii
           Defendants John Does l-3 and ABC Corp. 1-3. General Services Administration, and Aubensor
   !i
     1     Henry. jointly. severally or in the al!crnati\c.   d:nnagcs. interest and costs of suit.
   i
   11



           DA TED: August 3 L 2018




                                                                                                      Page 4 of 11
Case 2:19-cv-12238-JMV-SCM    DocumentAM
     HUD-L-003455-18 08/31/201811:13:34 1-1 PgFiled 05/07/19
                                               5 of 11 Trans ID: Page 8 of 15 PageID: 12
                                                                 LCV20181515196




                                               JURY DEMAND

             Plaintiffs Shirley Taveras and Elianna Taveras demand a jury trial on all issues.




           DEMAND FOR ANSWERS TO FORM C AND Cl UNIFORM INTERROGATORIES
                        AND SUPPLEMENTAL INTERROGATORIES


             Please take notice that pursuant to &.4:17-l(b)(ii) plaintiff(s) demand certified answers to

      Form C. and C -1 of the Uniform Interrogatories set forth in Appendix to the Rules Governing

      Civil Practice and the following supplemental interrogatories:

      1.     Specify where you were coming from and where you intended to go at the time of the

             accident (give the name and exact street address of each location).

      2.     State whether you consumed any drugs, medication or alcoholic beverages in the 24 hours

             before the accident, specifying the kind, amount and place where consumed.

      3.     Describe your path of travel, including speed, lane changes, during the last 1000 feet of

             travel immediately before the point of impact;

      4.     State what you did, if anything, to avoid the accident.

      5.     State whether your license or driving privileges have been suspended/revoked within the

             last five years and indicate the reasons why.

      6.     If defendant(s) contends in any way that the injuries claimed by any plaintiff(s) to have

             been caused by this incident were in fact not caused or in any way related to this incident,

             state fully and in detail each and every fact upon which defendant(s) will rely in support of

             said contention. Annex hereto copies of any and all medical records or other documents

             upon which dcfondant(s) will roly in support of said contention~

      7.     If defendant(s) contends that any plaintiff sustained physical injuries at any time prior or

             subsequent to the subject accident, please state:

                                                                                               Page5 of 11
Case 2:19-cv-12238-JMV-SCM    Document 1-1 Filed 05/07/19 Page 9 of 15 PageID: 13
      HUD-L-003455-16 06/31/2018 11:13:34 AM Pg 6 of 11 Trans ID: LCV20181515196




            a.      The date of any and all said injuries; and

            b.      The nature of any said injuries.

     8.     If you owned, possessed or utilized a cellular phone, car phone, pager, or Personal Digital

            Assistant (PDA) on the date of the accident, provide the name and address of the telephone

            company billing you for the use of each said phone/pager/PDA on the date of the accident;

            the specific types of phone/pager/PDA and corresponding phone numbers; and attach

            hereto a copy of all billing statemenLc; for all calls made or received on each

            phone/pager/PDA during the month before, the date of, and after the subject accident;

     9.     If you wear, need to wear and/or are required to wear any type of corrective lenses at the

            time of the accident, provide the type of corrective lenses you wear, whether you are

            nearsighted or farsighted, what level of strength your eyesight was measured as of the day

            of the accident, and the names and addresses of all optometrists, ophthalmologists, eye-

            surgeries, and other physicians seen over the past 5 years with regard to the care of your

            eyes.

                             DEMAND FOR INSURANCE INFORMATION

            Pursuant to R 4:10-2(b) state whether there are any insurance agreements or policies under

     which any person or firm carrying on an insurance business may he entered in this action or to

      indemnify or reimburse for payments made to satisfy the judgmenL

            Attached a copy of each insurance policy or in the alternative state:

            A.      Name and address of insurer or issuer;

            B.      Policy name;

            C.      Date of inception and expiration of coverage;

            D.      Names and addresses of all persons insured

                    thereunder;

                                                                                              Page6of 11
Case 2:19-cv-12238-JMV-SCM    Document
      HUD-L-003455-18 08/31/2018 11·.13:34 1-1 Filed
                                           AM Pg  7 of05/07/19
                                                      11 Trans ID:Page 10 of 15 PageID: 14
                                                                   LCV20181515196




              E.      Name and address of person who has custody and

                      posses.c;ion of policy.


                                         DEMAND FOR DOCUMENTS

      l.      Please provide true copies of the communications, reports, records, notes, and other

      documents of any and all experts who have received any aspect of this case on behalf of defendant

      or defendant's attorneys and who are proposed expert witnesses on behalf of defendant in this

      matter. This request includes, but is not limited to, true copies of any reports of tests and

      experiments conducted for this case.

      2.      Medical Records of Plaintiff.

              (a) Records of evaluations and treatment.

              (b)     Costs of medical treatment and diagnosis.

              (c)     Hospital and Emergency Room Records.

              (d)     Insurance Files or materials of any type

                      whatsoever, including Central Index Bureau (C.I.B.) searches or photocopies

                      thereof, in the possession of defendant, or their attorney in regard to plaintiff.

      3.      Employment records of Plaintiff.

      4.      Documents verifying the nature of the weather and/or accident cite conditions immediately

      prior to the point in time of the accident.

      5.      Any and all invoices, repair bills, appraisals, or any other documentary evidence demonstrating

      any damage and/or repairs to any vehicle involved in the accident {if applicable).

      6.      Any and all expert reports on the issues of damages or liability. 111e reports, materials, items and

      all other things created, examined or reviewed with reference to the above referred incident, or any and all

      expcns who have received any aspect of this case on behalf of plaintiff or plaintiff's attorneys and who are


                                                                                                     Page 7 of 11
Case 2:19-cv-12238-JMV-SCM    Document AM
      HUD-l-003455-18 OS/31/201811·.13:34 1-1 Pg
                                               Filed
                                                 8 of 05/07/19
                                                      11 Trans ID:Page 11 of 15 PageID: 15
                                                                   LCV20181515196




     proposed expert wit~ on behalf of plaintiff in this matter and who have submitted a report to either

     plaintiff or plaintiff's attorney. The original or copies of all articles, publications, or writings authored or

     co-authored by the expert or toward which the expert contributed in any way. A list of all research

      resources that the expert consulted or reviewed in reference to forming any opinion on the above entitled

      cause of action. The original or copies of any medical records, reports, memoranda, books, treaties,

      papers, other documents, or effects that the expert consulted or reviewed that contributed to any aspect of

      any opinion the expert formed for this case. The original or an exact copy of everything provided to the

      expert for this case by anybody especially the defendant or the defendant's attorney, agents, servants or

      assigns. Every tangible thing that the expert has created, constructed, or experimented with or that was

      employed in any way to assist the expert in creating or explaining any belief, opinion, testimony or

      evidence that may be involved in this case. All billings, invoices, and timekeeping records for all fees

      charges or to be charged in reference to this case, also, all fee agreements, arrangements, or descriptions.

      Curriculum Vitae, reswne or other docwnent that reflects the expert's qualifications and any other

      document that reflects the expert's qualifications and any document that describes or explains the expert's

      billing procedures, amounts, and methods of payment.

      7.        Any and all statements taken of any party or witness to this suit, whether written or oral (if oral, set

      forth the names and address of the witness making such statement).

      8.        All documents between you and any party herein that discus.c;es or in any other way relates to the

      is.c;ues raised in this litigation regardless of whether such documents were initiated by you or by such other

      party or parties.

      9.        All documents between you and any other person that discusses or in any other way related to the

      issues raised in this litigation regardless of whether such d~ents were initiated by you or by such other

      person.

      10.       All documents generated by you that discuss or in any other way is relevant to the issu~ raised in


                                                                                                         Page8of 11
Case 2:19-cv-12238-JMV-SCM     Document
       HUD-L-003455-18 08/31/2018 11 :13:34 1-1 Filed
                                            AM Pg  9 of05/07/19    Page
                                                        11 Trans ID:    12 of 15 PageID: 16
                                                                     LCV20181515196




      this litigation.

      11.      Any and all photographs, videotapes, movies, drawings, sketches, charts, X-r.iys, MRI, CAT

      Scans or other radiological films, tape recordings, voice recordings, maps, or reproductions of any nature

      what'IDevcr that were made with respect to anything regarding the subject matter of this litig.ition. Stale the

      identity of the party, the date made, the location of the document, and the name, address, and phone

      number of the custodian of same. Annex copies of same unless specifically prohibited by law, and if

      prohibited, cite regulation including section and subsection.

      12.      Copies of your answers to Interrogatories setved in this action by any other party; and

      13.      Copies of any other party's answers to Interrogatories served upon them by you.

      14.      TI1e entire claims filed relating to plaintifrs claim, including but not limited to the entire PIP file

      (if applicable.)

      15.      Copies of any leases and policies of insurance issued to you which were in effect on the date of the

      accident m; alleged in the Complaint.

      16.      Copies of declaration pages of the policies of insurance is..c;ucd to you which were in effect on the

      date of the accident ac; alleged in the Complaint.

      17.      Copies of any written contract between the parties and copies of all written work orders executed

      subsequent to the signing of the contract.

      18.      Police Investigation Reports and/or incident or miscellaneous reports pertaining to this accident.

      19.      Transcripts of any Court Proceedings.

      20.      Any and all documentary evidence which will be introduced for any reason at the time of trial.

      2L       Any and all documcnLc; demonstrnting any other claims or suits arising out of this same accident or

      regdrding the same premises, including but not limited to copies of each and every pleading,

      interrogatories and answers, transcripts of om\ depositions, notice to take oral depositions, and Orders.

      22.      TI1e Cellular telephone number for the defendant and the name of the provider at the time of the


                                                                                                         Page9 of 11
Case 2:19-cv-12238-JMV-SCM
     HUD-L-003455-18 08/31/2018Document   1-1PgFiled
                                11:13:34 AM     10 of 05/07/19
                                                      11 Trans ID:Page 13 of 15 PageID: 17
                                                                   LCV20181515196




    !I atcidenL
    ;l             Failare 10 provide rhc above v:irhin rhc         (30       period           by Rule 4: 18-1 will result m

    !I coun,~I for plainti;f applying to the Court        th, :.ppwprstk'                 induding but not limited lO
    !!
    i crnmsd fb:.;. and costs. precluding the use        all)   of !he ri:qucsicd documents, as well as an OrdC'r. b:ming

    ti     Ddi:ndants · defenses and striking thcir answcr.
    'I
    11
    II
                                              NOTICE PlJRSl)ANT TO HOLE 1:7-Hb)
    (\

    !Iii           PLEASE TAKE NOTICE that, to the extent applicablt::, plaintiff, may, at the time of closing
    jl
    !I argument. suggest to the trier of fact \Vilh respccl tn <lllY ch.:rm:nt uf damages. !hat unliquidate<l damagcs b;.;
    11
    ij calculatcJ on a iime-unit b[L'>is. withorn n::h:rcnc(: to a sp1.:cilic sum.
    l!


                                               DESIG.N/\.TION OF TRlAL COCNSEL

                   Plaintiff,;; Shirky T:J.veras and Eli:mna 'foveras bcn:by dc!:->ignute Kimberly K Gbtt. Esq. from the

           law firm of Yackcr Glatt, LLC as trial co1msr:L



                                                                          \'ackcr Gla!L



                    DATED: August 31. 2018




                                                                                                             Page 10 r4 11
Case 2:19-cv-12238-JMV-SCM     Document
     H\JD-L-003455-18 08/31/2018            1-1PgFiled
                                 11 :Y3:34 AM          05/07/19
                                                  11 0111 Trans \D·.Page 14 of 15 PageID: 18
                                                                     LCV201B"\515196




    !1
    H
    H
    /j                                   CERTH•lCA.THi:'.\/ PVRSL\:"ff T() R. .J:5-l
    '1


    l                  i c.:crtif} that the m211er in controversy is not the subject L>f any other :K1itm pending in any

    I\ cnun or ~r a pcfill;ng arhi trntion proecedi ng and that no such acrion ur >.rb;tratiun proccedi ng is contemplated.
    li T,1 Pluimilrs kmmk:dge. no other p:my :~hould be joim:d in this action.
     tt
     !I




              DATED; August 3 L :?018
    i[

    l:1!
    ,,',,I
    ii
    ii
    "I;
    ij

    n
    H




                                                                                                          Page 1 I of I 1
Case 2:19-cv-12238-JMV-SCM     Document
       HUD-L-003455-18 08/31/2018 11 :13:34 1-1 Filed
                                            AM Pg 1 of 05/07/19
                                                       1 Trans ID: Page 15 of 15 PageID: 19
                                                                   LCV20181515196




                         Civil Case Information Statement
  Case Details: HUDSON ICivil Part Docket# L.:.003455-18

 Case Caption: TAVERAS SHIRLEY VS HENRY                            Case Type: AUTO NEGLIGENCE-PERSONAL INJURY (VERBAL
 AUBENSOR                                                          THRESHOLD)
 Case Initiation Date: 08/31/2018                                  Document Type: Complaint with Jury Demand
 Attorney Name: THOMAS D GLATI                                     Jury Demand: YES - 6 JURORS
 Firm Name: YACKER GLATI LLC                                       Hurricane Sandy related? NO
 Address: 648 NEWARK AVE                                           Is this a professional malpractice case? NO
 JERSEY CITY NJ 07306                                              Related cases pending: NO
  Phone:                                                           If yes, list docket numbers:
  Name of Party: PLAINTIFF: Taveras, Shirley                       Do you anticipate adding any parties (arising out of same
  Name of Defendant's Primary Insurance Company                    transaction or occurrence)? NO
  (if known): Unknown



        THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                        CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




   Do parties have a current, past, or recurrent relationship? NO
   If yes, is that relationship:
   Does the statute governing this case provide for payment of fees by the losing party? NO
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:


   Do you or your client need any disability accommodations? NO
           If yes, please identify the requested accommodation:


  Will an interpreter be needed? NO
           If yes, for what language:




  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  08/31/2018                                                                                           /s/ THOMAS D GLATT
  Dated                                                                                                             Signed
